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                        IN THE UNITED STATES DISTRICT COURT
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                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION          NOV 10 PM                             :   32
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TINA MORRIS,
                               Plaintiff,

                                                                       Case No. A-16-CA-994-SS

N&N AUTO FINANCE LLC and JUAN CANTU
dfb/a Cantu Recovery,
                      Defendants.




                                            ORDER

         BE IT REMEMBERED on October 18, 2016, this Court entered its Order that plaintiff Tina

Morris "shall file a pleading stating the status of this case and why it should not be dismissed for

failure to prosecute and comply with the orders of this Court." The deadline of that Order was

October 31, 2016, and Tina Morris has filed no pleading in compliance with the October 18, 2016,

Order.

                  IT IS THEREFORE ORDERED that the above-styled and numbered cause is

         DISMISSED without prejudice for failure to prosecute and/or comply with the Orders of this

         Court.

         SIGNED this the    10   day of November 2016.



                                                                            241C
                                                  UNITED    S    TES     STRICT JUDGE




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